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                  Exhibit 7
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     REPRESENTATIVE LIST OF THE NINJA TURTLES COPYRIGHTS


      Copyright
Registration/Document         Title of Work           Type of Work
       Number


                          Teenage Mutant Ninja
   PA0001824457          Turtles: 101, Rise of the    Motion Picture
                              Turtles, Part 1


                          Teenage Mutant Ninja
   PA0001813811          Turtles: 102, Rise of the    Motion Picture
                              Turtles Part 2


                          Teenage Mutant Ninja
   PAu003699010         Turtles: 125, SHOWDOWN        Motion Picture
                                  PART 1


                          Teenage Mutant Ninja
   PAu003699009         Turtles: 126, SHOWDOWN        Motion Picture
                                  PART 2


                          Teenage Mutant Ninja
   PA0001886722         Turtles: 201, The Mutation    Motion Picture
                                 Situation


                          Teenage Mutant Ninja
   PA0001933310         Turtles: 225, The Invasion:   Motion Picture
                                   Part 1


                          Teenage Mutant Ninja
   PA0001933312         Turtles: 226, The Invasion:   Motion Picture
                                   Part 2


                          Teenage Mutant Ninja
   PA0001932533                                       Motion Picture
                              Turtles: 301
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                           Teenage Mutant Ninja
   PA0001932534                                        Motion Picture
                               Turtles: 302


                           Teenage Mutant Ninja
   PA0001979531                                        Motion Picture
                               Turtles: 326


                           Teenage Mutant Ninja
   PA0001971691                                        Motion Picture
                               Turtles: 401


                           Teenage Mutant Ninja
   PAu003838607                                        Motion Picture
                               Turtles: 426


                           Teenage Mutant Ninja
   PAu003836340                                        Motion Picture
                               Turtles: 501


                           Teenage Mutant Ninja
   PA0002009161             Turtles, Cowabunga         Motion Picture
                                 Christmas


                           Teenage Mutant Ninja
   PA0001867812                                        Motion Picture
                           Turtles: Enter Shredder


                        Teenage Mutant Ninja Turtles
   VAu001111391             - 2011 Retro Guide         Visual Material
                                Addendum


                        Teenage Mutant Ninja Turtles
   VAu001111392
                          - 2012 Packaging Guide       Visual Material




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                        Teenage Mutant Ninja Turtles
   VAu001111403             - 2012 Retro Guide         Visual Material
                                Addendum


                           Teenage Mutant Ninja
                        Turtles: A Green Christmas -
   VAu001188363                                        Visual Material
                         Fall/Winter 2014 Seasonal
                                   Guide


                        Teenage Mutant Ninja Turtles
   VAu001188355                                        Visual Material
                              Branding Guide


                           Teenage Mutant Ninja
                           Turtles: DimensionX
   VAu001230757                                        Visual Material
                           Spring/Summer 2016
                              Seasonal Guide


                        Teenage Mutant Ninja Turtles
                              - For The Fans!
   VAu001194666                                        Visual Material
                            Spring/Summer 2014
                              Seasonal Guide


                          Teenage Mutant Ninja
   VAu001230632          Turtles: Half-Shell Heroes    Visual Material
                          2015 Packaging Guide


                           Teenage Mutant Ninja
   VAu001230652          Turtles: Half-Shell Heroes    Visual Material
                          2016 Supplement Guide




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                           Teenage Mutant Ninja
                         Turtles: Half-Shell Heroes -
   VAu001257394                                         Visual Material
                           Blast to the Past 2016
                              Supplement Guide


                           Teenage Mutant Ninja
                         Turtles: Half-Shell Heroes
   VAu001257403                                         Visual Material
                        Little Dudes Spring/Summer
                            2017 Seasonal Guide



                        Teenage Mutant Ninja Turtles
   VAu001118390                                         Visual Material
                         - Holiday 2013 Supplement
                                    Guide


                        Teenage Mutant Ninja Turtles
   VAu001188345         Holiday Heroes - Fall/Winter    Visual Material
                            2015 Seasonal Guide


                           Teenage Mutant Ninja
                            Turtles: Hypersport
   VAu001230622                                         Visual Material
                           Spring/Summer 2016
                              Seasonal Guide


                           Teenage Mutant Ninja
                            Turtles: Maxin’ and
   VAu001188361                                         Visual Material
                        Shellaxin’ - Fall/Winter 2014
                               Seasonal Guide


                           Teenage Mutant Ninja
                            Turtles: Mini Pizza
   VAu001257399                                         Visual Material
                           Spring/Summer 2017
                              Seasonal Guide




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                           Teenage Mutant Ninja
                           Turtles: Ninja Moves -
   VAu001230653                                           Visual Material
                         Fall/Winter 2016 Seasonal
                                    Guide


                           Teenage Mutant Ninja
   VAu001187277         Turtles: Ooze Control - 2015      Visual Material
                        Fall/Winter Seasonal Guide


                        Teenage Mutant Ninja Turtles
   VAu001188362                                           Visual Material
                             Packaging Guide


                           Teenage Mutant Ninja
                        Turtles: Sewer Surfin’ - 2015
   VAu001188223                                           Visual Material
                         Spring/Summer Seasonal
                                   Guide


                           Teenage Mutant Ninja
                         Turtles: Shell Skater - 2015
   VAu001188278                                           Visual Material
                          Spring/Summer Seasonal
                                    Guide


                           Teenage Mutant Ninja
                         Turtles: Shell Skater - 2015
   VAu001188134                                           Visual Material
                          Spring/Summer Seasonal
                                    Guide


                           Teenage Mutant Ninja
                        Turtles: Shellin’ Out Justice -
   VAu001188132                                           Visual Material
                         2015 Fall/Winter Seasonal
                                    Guide




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                           Teenage Mutant Ninja
                           Turtles: Space Ninjas
   VAu001257351                                          Visual Material
                           Spring/Summer 2017
                              Seasonal Guide


                        Teenage Mutant Ninja Turtles
   VAu001188337                                          Visual Material
                           style guide supplement


                        Teenage Mutant Ninja Turtles
   VAu001188343         Trickster Treats - Fall/Winter   Visual Material
                            2015 Seasonal Guide


                           Teenage Mutant Ninja
                           Turtles: Xtreme Green
   VAu001257333                                          Visual Material
                           Spring/Summer 2017
                              Seasonal Guide


                           Teenage Mutant Ninja
   VAu001257397         Turtles: Bebop & Rocksteady      Visual Material
                                  Styleguide


                        Teenage Mutant Ninja Turtles
   VAu001194673         - Character Art Style: Comic     Visual Material
                                  Origins


                        Teenage Mutant Ninja Turtles
   VAu001211984             - Property Universe          Visual Material
                           Mythology Styleguide


                        Teenage Mutant Ninja Turtles
   VAu001188358                                          Visual Material
                          Turtle Power! Styleguide




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                          Teenage Mutant Ninja
   VAu001257343                                            Visual Material
                        Turtles: XMELO Styleguide


                         Bodycount: trade paperback
     V3591D038                                           Recorded Document
                        compilation & 139 other titles


                        Teenage Mutant Ninja Turtles
     V3595D556                                           Recorded Document
                              & 17 other titles




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